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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

Case No.    CV 18-2272-DMG (SSx)                                     Date     November 27, 2018

Title Shannon Newby v. Punch TV Studios, Inc.                                       Page     1 of 1

Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

             KANE TIEN                                               NOT REPORTED
             Deputy Clerk                                             Court Reporter

   Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
            None Present                                               None Present

Proceedings: IN CHAMBERS - ORDER SCHEDULING A TELEPHONIC STATUS
             CONFERENCE

        On November 15, 2018, Plaintiff Shannon Newby filed a Motion to Enforce Settlement
Agreement, which is scheduled for a hearing on December 14, 2018 at 9:30 a.m. [Doc. # 18.]
Plaintiff’s counsel attests that the parties settled the matter on October 3, 2018, Defendant Punch
TV Studios, Inc. failed to make any of the payments required under the settlement agreement,
and Defendant’s attorney, Robert K. Lu, informed Plaintiff’s attorney on November 13, 2018
that he no longer represents Defendant. See Zerner Decl. at ¶¶ 1–3, 5–10 [Doc. # 18-1].
Pursuant to Local Rule 7-9, Defendant’s opposition or statement of non-opposition was due no
later than November 23, 2018. See C.D. Cal. L.R. 7-9. To date, Defendant has not responded to
Plaintiff’s motion.

        The Court sua sponte SCHEDULES a telephonic status conference for November 30,
2018 at 10:00 a.m. All counsel of record shall participate in the status conference. At least 24
hours before the hearing, Counsel shall provide the deputy clerk of court, Kane Tien
(DMG_Chambers@cacd.uscourts.gov), with the phone number (land lines only; no cell phones)
at which counsel can be reached. Mr. Lu is reminded that an attorney may not withdraw as
counsel of record except by leave of court. See C.D. Cal. L.R. 83-2.3.2. Such leave has not been
requested or obtained. Mr. Lu shall be prepared to explain why the Court should not grant
Plaintiff’s motion on account of Defendant’s failure to oppose it. See C.D. Cal. L.R. 7-12. Mr.
Lu shall also serve a copy of this Order on his client, Defendant Punch TV Studios, Inc. Failure
to comply with this Order may result in the imposition of sanctions on Defendant and its
counsel as well as the granting of the unopposed motion to enforce the settlement
agreement.

IT IS SO ORDERED.




CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
